        Case 2:20-cv-00226-SAB    ECF No. 36   filed 11/06/20   PageID.393 Page 1 of 2



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                                                                           FILED IN THE
 3                                                                     U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON


 4                                                                Nov 06, 2020
 5                                                                    SEAN F. MCAVOY, CLERK



 6                            UNITED STATES DISTRICT COURT
 7                      EASTERN DISTRICT OF WASHINGTON
 8
 9 BRUCE GOODELL, a single person,
10               Plaintiff,                        No. 2:20-CV-00226-SAB
11               v.
12 COLUMBIA COUNTY PUBLIC                          ORDER GRANTING MOTION
13 TRANSPORTATION; COLUMBIA                        TO AMEND COMPLAINT AND
14 COUNTY TRANSPORTATION                           DENYING MOTION TO
15 AUTHORITY; and DAVID OCAMPO,                    DISMISS AS MOOT
16               Defendants.
17
18         Before the Court are Defendants’ Motion to Dismiss for Failure to State a
19 Claim, ECF No. 23 and Plaintiff’s Motion to Amend Complaint, ECF No. 24. A
20 hearing on the motions was held on November 6, 2020. Plaintiff was represented
21 by Andrew Biviano, who appeared by videoconference. Defendants were
22 represented by Andrew Wagley, who appeared by videoconference.
23         The Court reviewed the parties’ pleadings and heard from counsel. For the
24 reasons stated on the record, the Court will allow Plaintiff to amend his complaint.
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26 //
27 //
28 //
     ORDER GRANTING MOTION TO AMEND COMPLAINT AND
     DENYING MOTION TO DISMISS AS MOOT * 1
      Case 2:20-cv-00226-SAB    ECF No. 36    filed 11/06/20   PageID.394 Page 2 of 2



 1        Accordingly, IT IS HEREBY ORDERED:
 2        1.    Plaintiff’s Motion to Amend Complaint, ECF No. 24, is GRANTED.
 3 Plaintiff is granted leave to file his Second Amended Complaint, ECF No. 24-1.
 4        2. Defendants’ Motion to Dismiss for Failure to State a Claim, ECF No. 23,
 5 is DENIED as moot and without prejudice. Defendants shall have until
 6 December 4, 2020 to file an amended Motion to Dismiss. Responses and replies
 7 shall be filed in accordance with the Local Rules. The parties shall contact the
 8 Court to set a new hearing date for the amended Motion to Dismiss and any other
 9 pretrial motions.
10        IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
11 this Order, provide copies to counsel, and docket Plaintiff’s Second Amended
12 Complaint, located at ECF No. 24-1.
13        DATED this 6th day of November 2020.
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                                                  Stanley A. Bastian
                                              United States District Judge
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     ORDER GRANTING MOTION TO AMEND COMPLAINT AND
     DENYING MOTION TO DISMISS AS MOOT * 2
